Case 18-05406-JMC-7A Doc1 Filed 07/17/18 EOD 07/17/18 15:21:43 Pgi1of 54

Fill in this information to identify your case:

   

United States Bankruptcy Court for the:
SOUTHERN DISTRICT OF INDIANA

Case number (if known): Chapter you are filing under:

[Chapter 7

[1] Chapter 11
EJ Chapter 12
LD Chapter 13

 

Official Form 101

Voluntary Petition for Individuals Filing for Bankruptcy 12/15

 

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, “Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

| Part4: | Identify Yourself

1. Your full name

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):

Write the name that is on your

 

 

 

 

 

 

: : Nijiah
government-issued picture First Namo First Name
identification (for example,
your driver's license or Muhammad
passport). Middle Name Middle Name
Gearon
Bring your picture Last Name Last Name
identification to your meeting
with the trustee. Suffix (Sr., Jr, U, Ii) Suffix (Sr, Jr, H, i)
2. All other names you Naji
have used in the last 8 First Name First Name
years Muhummad
. Middle Name Middie Name
Include your married or
: Gearon
maiden names. Last Name Last Name
3. Only the last 4 digits of
your Social Security XXX — XX —_ 3 7 LT KK RK
number or federal OR OR
Individual Taxpayer
Identification number Qxx — xXx — 9xx — XX —-
(ITIN) ne

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1

 

 
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Debtor 1

4. Any business names
and Employer
Identification Numbers
(EIN) you have used in
the last 8 years

Include trade names and
doing business as names

5. Where you live

6. Why you are choosing
this district to file for
bankruptcy

Nijiah Muhammad Gearon

About Debtor 1:

fv] | have not used any business names or EINs.

Case number (if known)

 

About Debtor 2 (Spouse Only in a Joint Case):

[1 Ihave not used any business names or EINs.

 

Business name

Business name

 

Business name

Business name

 

Business name

EIN

EIN

4010 Gateway Ct

Number Street

Business name

EN
EN 7
lf Debtor 2 lives at a different address:

Number Street

 

 

 

 

Indianapolis IN 46254

City State ZIP Code City State ZIP Code
Marion

County County

If your mailing address is different from
the one above, fill it in here. Note that the
court will send any notices to you at this
mailing address.

If Debtor 2's mailing address is different
from yours, fill it in here. Note that the court
will send any notices to you at this mailing
address.

 

 

 

Number Street Number Street

P.O. Box P.O. Box

City State ZIP Code City State ZIP Code
Check one: Check one:

[J Over the last 180 days before filing this
petition, | have lived in this district longer
than in any other district.

[=I have another reason. Expiain.
(See 28 U.S.C. § 1408.)

re Tell the Court About Your Bankruptcy Case

7. The chapter of the
Bankruptcy Code you
are choosing to file
under

Official Form 101

C1 Over the last 180 days before filing this
petition, | have lived in this district longer
than in any other district.

| have another reason. Explain.
(See 28 U.S.C. § 1408.)

Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.

wm Chapter 7

C1 Chapter 11
(CO Chapter 12
EJ Chapter 13

Voluntary Petition for Individuals Filing for Bankruptcy

page 2

 

 
Case 18-05406-JMC-7A Doc1 Filed 07/17/18 EOD 07/17/18 15:21:43 Pg 3of 54

Debtor 4 Nijiah Muhammad Gearon

8. How you will pay the fee

9. Have you filed for
bankruptcy within the
last 8 years?

10. Are any bankruptcy
cases pending or being
filed by a spouse who is
not filing this case with
you, or by a business
partner, or by an
affiliate?

11. Do you rent your
residence?

Official Form 101

Case number (if known)

[_*#=[ will pay the entire fee when | file my petition. Please check with the clerk's office in your local
court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
behalf, your attorney may pay with a credit card or check with a pre-printed address.

[7] | need to pay the fee in installments. If you choose this option, sign and attach the Application for
Individuals to Pay Your Filing Fee in Installments (Official Form 103A).

CJ | request that my fee be waived (You may request this option only if you are filing for Chapter 7.
By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
than 150% of the official poverty line that applies to your family size and you are unable to pay the
fee in installments). if you choose this option, you must fill out the Application to Have the Chapter 7
Filing Fee Waived (Official Form 103B) and file it with your petition.

 

 

 

 

 

 

 

Mw No

OC] Yes.

District When Case number
MM/DD/YYYY

District When Case number
MM /DD/YYYY

District When Case number
MM /DD/YYYY

7 Ne

C] Yes.

Debtor Relationship to you

District When Case number,
MM/DD/YYYY — if known

Debtor Relationship to you

District When Case number,
MM/DD/YYYY — if known

1 No. Goto line 12.

CI Yes. Has your landlord obtained an eviction judgment against you and do you want to stay in your

residence?

O No. Goto line 12.

C1 Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
and file it with this bankruptcy petition.

Voluntary Petition for Individuals Filing for Bankruptcy page 3°

 

 

 

 

 

 

 

 
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Debtor 1 Nijiah Muhammad Gearon Case number (if known)

 

er Report About Any Businesses You Own as a Sole Proprietor

12. Are youa sole proprietor [¥] No. Go to Part 4.
of any full- or part-time [CO Yes. Name and location of business
business?

A sole proprietorship is a
business you operate as an
individual, and is nota
separate legal entity such as Number Street
a corporation, partnership, or
LLC.

 

Name of business, if any

 

 

 

 

If you have more than one
sole proprietorship, use a

separate sheet and attach it Check the appropriate box to describe your business:
to this petition.

City State ZIP Code

 

C] Health Care Business (as defined in 11 U.S.C. § 101(27A))
CL] Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
(] Stockbroker (as defined in 11 U.S.C. § 101(53A))
[1 Commodity Broker (as defined in 11 U.S.C. § 101(6)) |
L_ None of the above |
13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a smail business debtor so that it
Chapter 11 of the can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
Bankruptcy Code and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
are you small business or if any of these documents do not exist, follow the procedure in 17 U.S.C. § 1116(1)(B).

 

7] No. lam not filing under Chapter 11.

ous fC No. tam filing under Chapter 11, but |} am NOT a small business debtor according to the definition in
For a definition of small the Bankruptcy Code
business debtor, see ,
11.U.S.C. § 101(51D). LJ Yes. |am filing under Chapter 11 and | am a small business debtor according to the definition in the

Bankruptcy Code.
Cra Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any [yJ No
property that poses or is [1] Yes. What is the hazard?
alleged to pose a threat of
imminent and identifiable
hazard to public health or
safety? Or do you own
any property that needs If immediate attention is needed, why is it needed?

immediate attention?

For example, do you own
perishable goods, or

 

 

 

livestock that must be fed, or Where is the property?
a building that needs urgent Number Street
repairs?
City State ZIP Code

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 4
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Debtor 1 Nijiah Muhammad Gearon Case number (if known)

 

ue Explain Your Efforts to Receive a Briefing About Credit Counseling

15. Teil the court
whether you
have received

About Debtor 1:
You must check one:

[YJ | received a briefing from an approved credit

About Debtor 2 (Spouse Only in a Joint Case):
You must check one:

[_]| received a briefing from an approved credit

briefing about
credit
counseling.

The law requires
that you receive a
briefing about credit
counseling before
you file for
bankruptcy. You
must truthfully

check one of the
following choices.
If you cannot do so,
you are not eligible
to file.

If you file anyway,
the court can
dismiss your case,
you will lose
whatever filing fee
you paid, and your
creditors can begin
collection activities
again.

Official Form 101

counseling agency within the 180 days before |
filed this bankruptcy petition, and 1 received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

[I received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have
a certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

[| certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary
waiver of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining what
efforts you made to obtain the briefing, why you

were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved agency,
along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted only
for cause and is limited to a maximum of 15 days.

[1]! am not required to receive a briefing about
credit counseling because of:

(] Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

[] Disability. My physical disability causes me

to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

[J Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for Individuals Filing for Bankruptcy

counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

[JI received a briefing from an approved credit

counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have
a certificate of completion.

Within 14 days after you file this bankruptcy petition,

you MUST file a copy of the certificate and payment
plan, if any.

(J! certify that | asked for credit counseling

services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary
waiver of the requirement.

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requirement, attach a separate sheet explaining what
efforts you made to obtain the briefing, why you

were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved agency,
along with a copy of the payment plan you
developed, if any. If you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted only
for cause and is limited to a maximum of 15 days.

(1! am not required to receive a briefing about

credit counseling because of:

(J Incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

[J Disability. My physical disability causes me

to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

(J Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

page 5

 

 

 
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Debtor 14

Nijiah Muhammad Gearon

iu Answer These Questions for Reporting Purposes

16. What kind of debts do you
have?

17. Are you filing under
Chapter 7?

Do you estimate that after
any exempt property is
excluded and
administrative expenses
are paid that funds will be
available for distribution
to unsecured creditors?

18. How many creditors do
you estimate that you
owe?

19. How much do you
estimate your assets to
be worth?

20. How much do you
estimate your liabilities to
be?

Official Form 101

16a.

16b.

16c.

OOOS OOOS OOON

Case number (if known)

Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
as "incurred by an individual primarily for a personal, family, or household purpose."

CO No. Go to line 16b.
Mw Yes. Go to line 17.

Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

[] No. Go to line 16c.
oO Yes. Go to line 17.

State the type of debts you owe that are not consumer or business debts.

 

No. lam not filing under Chapter 7. Go to line 18.

Yes. lam filing under Chapter 7. Do you estimate that after any exempt property is excluded and
administrative expenses are paid that funds will be available to distribute to unsecured creditors?

MW No
CO Yes

1-49
50-99
100-199
200-999

$0-$50,000
$50,001-$100,000
$100,001-$500,000
$500,001-$1 million

$0-$50,000
$50,001-$100,000
$100,001-$500,000
$500,001-$1 million

OOOO OOOO ooO0O

1,000-5,000
5,001-10,000
10,001-25,000

$1,000,001-$10 million
$10,000,001-$50 million
$50,000,001-$100 million
$100,000,001-$500 million

$1,000,001-$10 million
$10,000,001-$50 million
$50,000,001-$100 million
$100,000,001-$500 million

Voluntary Petition for Individuals Filing for Bankruptcy

OOOO oOoOO oO8O00

25,001-50,000
50,001-100,000
More than 100,000

$500,000,001-$1 billion
$1,000,000,001-$10 billion
$10,000,000,001-$50 billion
More than $50 billion

$500,000,001-$1 billion
$1,000,000,001-$10 billion
$10,000,000,001-$50 billion
More than $50 billion

page 6

 

 

 
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Debtor 1 Nijiah Muhammad Gearon Case number (if known)
wee Sign Below
For you | have examined this petition, and | declare under penalty of perjury that the information provided is true

 

and correct.

 

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11, 12,
or 13 of title 11, United States Code. | understand the relief available under each chapter, and | choose to
proceed under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me
fill out this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.
l understand making a false statement, concealing property, or obtaining money or property by fraud in

connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Mie Muhormandfy

Nijiah Muhammad Gearon, Debtor 1 Signature of Debtor 2

 

Executed on Executed on
MM/DD/YYYY MM /DD/YYYY

Official Form 104 Voluntary Petition for Individuals Filing for Bankruptcy page 7
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Debtor 1 Nijiah Muhammad Gearon Case number (if known)

For you if you are filing this
bankruptcy without an
attorney

If you are represented by an

attorney, you do not need to
file this page.

Official Form 101

The law allows you, as an individual, to represent yourself in bankruptcy court, but you should
understand that many people find it extremely difficult to represent themselves
successfully. Because bankruptcy has long-term financial and legal consequences, you are
strongly urged to hire a qualified attorney.

To be successful, you must correctly file and handle your bankruptcy case. The rules are very technical,
and a mistake or inaction may affect your rights. For example, your case may be dismissed because you
did not file a required document, pay a fee on time, attend a meeting or hearing, or cooperate with the
court, case trustee, U.S. trustee, bankruptcy administrator, or audit firm if your case is selected for audit.
lf that happens, you could lose your right to file another case, or you may lose protections, including the
benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the court. Even
if you plan to pay a particular debt outside of your bankruptcy, you must list that debt in your schedules. If
you do not list a debt, the debt may not be discharged. If you do not list property or properly claim it as
exempt, you may not be able to keep the property. The judge can also deny you a discharge of all your
debts if do something dishonest in your bankruptcy case, such as destroying or hiding property, falsifying
records, or lying. Individual bankruptcy cases are randomly audited to determine if debtors have been

accurate, truthful, and complete. Bankruptcy fraud is a serious crime; you could be fined and
imprisoned.

If you decide to file without an attorney, the court expects you to follow the rules as if you had hired an
attorney. The court will not treat you differently because you are filing for yourself. To be successful,

you must be familiar with the United States Bankruptcy Code, the Federal Rules of Bankruptcy Procedure,
and the local rules of the court in which your case is filed. You must also be familiar with any state
exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and legal
consequences?

oO No
[Vj Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are inaccurate
or incomplete, you could be fined or imprisoned?

Cl No
wi Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

CO No
[7] Yes. Name of Person Regenia Smith
Attach Bankruptcy Petition Preparer’s Notice, Declaration, and Signature (Official Form 119).

By signing here, | acknowledge that I understand the risks involved in filing without an attorney. | have
read and understood this notice, and | am aware that filing a bankruptcy case without an attorney may
cause me to lose my rights or property if | do not properly handle the case.

A ip ie” hinhomandA HA X

 

 

 

 

 

Nijidh Muhammad Gearon, Debtor 1 Signature of Debtor 2
Date Date

MM /DD/YYYY MM/DD/YYYY
Contact phone (317) 982-9086 Contact phone
Cell phone Cell phone
Email address Email address

Voluntary Petition for Individuals Filing for Bankruptcy page 8
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Fill in this information to identify your case:

Debtor 4 Nijiah Muhammad Gearon
First Name Middle Name Last Name

 

Debtor 2
(Spouse, if filing) First Name _ Middle Name Last Name

 

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA

knows (C1 Check if this is an

amended filing

 

 

 

Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information 12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended
schedules after you file your original forms, you must fill out a new Summary and check the box at the top of this page.

inne Summarize Your Assets

Your assets
Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)

ja. Copy line 55, Total real estate, from Schedule A/B..... i cccccceserseseseseeteessneesnecnsensenseersneseeseseneeeneserserieresnaenrensenes _ «$0.00

ib. Copy line 62, Total personal property, from Schedule A/B......... ce scccccscsecseseenseeececneeneeneceneesaetaecassaesesserecnensernenaeets _____ $1,050.00

 

1c. Copy line 63, Total of all property on Schedule A/B $1,050.00

Eira Summarize Your Liabilities

 

 

 

Your liabilities
Amount you owe

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

 

2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D..... _ «0,00

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
3a. Copy the total claims from Part 1 (priority unsecured claims) from line Ge of Schedule E/P............ eee _ $0.00
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F oe eer ree + ____ $13,857.81
Your total liabilities ___ $13,857.81

 

 

 

Eire Summarize Your Income and Expenses

4. Schedule |: Your Income (Official Form 1061)
Copy your combined monthly income from line 12 of Schedule |... cceteteteetetetee eee tereee tr neensiseetenseeteeneerseneerensentes ___ $2,233.00_

5. Schedule J: Your Expenses (Official Form 106J)
Copy your monthly expenses from line 22c Of SCHEGUIE J... cesses seessteeetieneeseteeenecreestsntietinstersnanisreereeseestgy ____—*$2,259,00°

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 14
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Debtor 4 Nijiah Muhammad Gearon Case number (if known)

 

Ei Answer These Questions for Administrative and Statistical Records

 

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

 

No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

mM Yes

7. What kind of debt do you have?

[7 Your debts are primarily consumer debts. Consumer debts are those "incurred by an individual primarily for a personal,
family, or household purpose." 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

[J Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
this form to the court with your other schedules.

 

8. Fromthe Statement of Your Current Monthly income: Copy your total current monthly income from
Official Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14. ___ $2,517.00

 

 

 

9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

 

 

 

 

Total claim

From Part 4 on Schedule E/F, copy the following:

ga. Domestic support obligations. (Copy line 6a.) _—_—_— ___$0.00_
Qb. Taxes and certain other debts you owe the government. (Copy line 6b.) $0.00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.) $0.00
9d. Student loans. (Copy line 6f.) $0.00
Qe. Obligations arising out of a separation agreement or divorce that you did not report as _ $0.00

priority claims. (Copy line 6g.)

9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.) + ___—*$0.00
9g. Total. Add lines 9a through 9f. $0.00

 

 

 

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2
Case 18-05406-JMC-7A Doc1 Filed 07/17/18 EOD 07/17/18 15:21:43 Pg 11 of 54

Fill in this information to identify your case and this filing:

Debtor 1 Nijiah Muhammad Gearon
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA

(known (1 Check if this is an

amended filing

 

 

 

Official Form 106A/B
Schedule A/B: Property 12/15
(9

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Eee Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

4. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
[¥] No. Go to Part 2.
[] Yes. Where is the property?

 

 

 

2. Add the dollar value of the portion you own for all of your entries from Part 1, including any
entries for pages you have attached for Part 1. Write that number here.............-secssesesseseerteeeteesseenerserseess > _ «$0.00

 

 

 

Eo Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

4 No
Oo Yes

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

M No
oO Yes

 

5. Add the dollar value of the portion you own for all of your entries from Part 2, including any
entries for pages you have attached for Part 2. Write that number here... cee cesesseseesteeessenarenesseeenneernanes »> _ «$0.00

 

 

 

Ei Describe Your Personal and Household Items

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major appliances, furniture, linens, china, kitchenware

[J No
[7] Yes. Describe..... household goods $700.00

Official Form 106A/B Schedule A/B: Property page 4
Debtor 1 Nijiah Muhammad Gearon Case number (if known)

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Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
music collections; electronic devices including cell phones, cameras, media players, games

oO No
Yes. Describe..... television $100.00

Collectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles

No

oO Yes. Describe.....

Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
canoes and kayaks; carpentry tools; musical instruments

[yJ No

Oo Yes. Describe.....

Firearms

Examples: Pistols, rifles, shotguns, ammunition, and related equipment

Ww No

[I Yes. Describe.....

Clothes

Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

oO No

[J] Yes. Describe... clothing $250.00

Jewelry

Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver

Y No

oO Yes. Describe.....

Non-farm animals
Examples: Dogs, cats, birds, horses

wi No
Cl Yes. Describe.....

Any other personal and household items you did not already list, including any health aids you
did not list

4 No
Yes, Give specific
information.............

 

 

Add the dollar value of all of your entries from Part 3, including any entries for pages you have
attached for Part 3. Write the number Nere.........cccccssscsscccnesersscsseeesrenssenssesesentceseceasoonensecseeseessersensrenenesentanes > ___ $1,050.00.

 

 

 

BEE Describe Your Financial Assets

Do you own or have any legal or equitable interest in any of the following?

16.

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

Cash

Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
petition

4 No

[LO  YOSeeesecsssseeessseseeesssseesssnnecssnsscessnaneneannaeecannnencanactesnnanecevanscesnnssseesssesacenssseesensnenennangenneg tense CASH vee ee eeeertteseees

Official Form 106A/B Schedule A/B: Property ‘ page 2

 

 
Debtor 1 Nijiah Muhammad Gearon Case number (if known)

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26.

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Deposits of money

Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
brokerage houses, and other similar institutions. If you have multiple accounts with the same
institution, list each.

MY No

oO VOS..ceccccccccstecenseeeeeees Institution name:

Bonds, mutual funds, or publicly traded stocks
Examples: Bond funds, investment accounts with brokerage firms, money market accounts

[7 No

oO YOS.. ee cceccceerereeeeeetees Institution or issuer name:

Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
an interest in an LLC, partnership, and joint venture

[7] No
[1 Yes. Give specific
information about
thEM 0... eceseneecereeees Name of entity: % of ownership:

Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

4 No

CO Yes. Give specific
information about
thEM.......ceesceceeseereeees Issuer name:

Retirement or pension accounts
Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
profit-sharing plans

fy No
C] Yes. List each
account separately. Type of account: Institution name:

Security deposits and prepayments

Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
companies, or others

7 No

[T] YOS.. etree institution name or individual:

Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
[YJ No

LI YOS.. eects Issuer name and description:

Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

[J No

[LO] VOS.. eee eens Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)

Trusts, equitable or future interests in property (other than anything listed in fine 1), and rights or
powers exercisable for your benefit

w No
Yes. Give specific
information about them

Patents, copyrights, trademarks, trade secrets, and other intellectual property;
Examples: Internet domain names, websites, proceeds from royaities and licensing agreements

M No
Yes. Give specific
information about them

Official Form 106A/B Schedule A/B: Property page 3

 

 
Debtor 4 Nijiah Muhammad Gearon Case number (if known)

27.

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Licenses, franchises, and other general intangibles
Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
No

Yes. Give specific

information about them

Money or property owed to you? Current value of the

28.

29.

30.

31.

32,

33.

34,

portion you own?
Do not deduct secured
claims or exemptions.

Tax refunds owed to you

fj No

[1] Yes. Give specific information Federal:
about them, including whether
you already filed the returns State:

and the tax years... Local:

Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement

[7 No

[I Yes. Give specific information Alimony:
Maintenance:
Support:
Divorce settlement:
Property settlement:

Other amounts someone owes you
Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’
compensation, Social Security benefits; unpaid loans you made to someone else

No

Li Yes. Give specific information

Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renters insurance
[7 No
Yes. Name the insurance
company of each policy
and list its value... Company name: Beneficiary: Surrender or refund value:

Any interest in property that is due you from someone who has died
If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
entitled to receive property because someone has died

vj No

LD Yes. Give specific information

Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
Examples: Accidents, employment disputes, insurance claims, or rights to sue

fy] No

oO Yes. Describe each claim........

Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
rights to set off claims

yf No

oO Yes. Describe each claim........

Official Form 106A/B Schedule A/B: Property page 4

 

 
Debtor 1 Nijiah Muhammad Gearon Case number (if known)

35.

36.

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Any financial assets you did not already list

J No

Ci Yes. Give specific information

 

 

Add the dollar value of all of your entries from Part 4, including any entries for pages you have
attached for Part 4. Write that number here.......ccssscsccssssersssssessssesssensrsssssensenteeveescssneessessssasssensereneaneracsanraaineasy >] $0.00

 

 

 

Feit Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37.

38.

39.

40.

41.

42.

43.

44,

45.

Do you own or have any legal or equitable interest in any business-related property?

wv No. Go to Part 6.
oO Yes. Go to line 38.

Current value of the
portion you own?
Do not deduct secured
claims or exemptions.
Accounts receivable or commissions you already earned

fy No

O Yes. Describe..

Office equipment, furnishings, and supplies
Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
desks, chairs, electronic devices

7] No

oO Yes. Describe..

Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

fH No

oO Yes. Describe..

Inventory

[1 No

oO Yes. Describe..

Interests in partnerships or joint ventures

[I No

OO Yes. Describe..... Name of entity: % of ownership:
Customer lists, mailing lists, or other compilations

No

LD Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?

oO No
Oo Yes. Describe.....

Any business-related property you did not already list

lM No

[1 Yes. Give specific information.

 

Add the dollar value of all of your entries from Part 5, including any entries for pages you have 0.00
attached for Part 5. Write that number Nere.......sscssserceesessesessneencessensestsssnnnerscnerersersarssecesacaseauanseenenesenrseneryess > _ «$0.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 5

 

 
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Debtor1 = Nijiah Muhammad Gearon Case number (if known)

 

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
If you own or have an interest in farmiand, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

4 No. Go to Part 7.
oO Yes. Go to fine 47.

Current value of the
portion you own?

Do not deduct secured
claims or exemptions.

 

 

47, Farm animals
Examples: Livestock, poultry, farm-raised fish

Mw No
Ol Yes....

48. Crops--either growing or harvested

MM No
Yes. Give specific
information.............0

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
fy No
OO Yes...

50. Farm and fishing supplies, chemicals, and feed

[¥] No

oO Yes...

51. Any farm- and commercial fishing-related property you did not already list

[I No
[] Yes. Give specific
information.............

 

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
attached for Part 6. Write that number Nere.......ccssessescseneenesseensnseseersseccsenserrenconsssenaneernanensentsaasensnaserenese nes > _ «0,00

 

 

 

Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

fy No

[] Yes. Give specific information.

 

54, Add the dollar value of all of your entries from Part 7. Write that number VOLO. cccscceececeeneeesseessesereeasnrateeneees > _ «$0.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 6
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Debtor 1 Nijiah Muhammad Gearon Case number (if known)

 

 

List the Totals of Each Part of this Form

 

 

 

 

 

 

 

55. Part 1: Total real estate, lime 2......cscscssseccsssesssssssessssesersseossassssssssosesenessneeeeessenenesssessensnssaresensaracsannssassenscenaasoncenss > $0.00

56, Part 2: Total vehicles, line 5 $0.00

57, Part 3: Total personal and household items, line 15 $1,050.00

58. Part 4: Total financial assets, line 36 $0.00

59, Part 5: Total business-related property, line 45 $0.00

60. Part 6: Total farm- and fishing-related property, line 52 $0.00

61. Part 7: Total other property not listed, line 54 + $0.00

Copy personal
62. Total personal property. Add lines 56 through 61.........-0.8 $1,050.00 | property total > + $1,050.00
63. Total of all property on Schedule A/B. Add line 55 + Vine 62.0... nseeteeeeneeeseeeneeenennensensenneerenerentesenteess $1,050.00

 

 

 

Official Form 106A/B Schedule A/B: Property page 7
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Fill in this information to identify your case:

Debtor 1 Nijiah Muhammad Gearon
First Name Middie Name Last Name

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA

 

 

CJ Check if this is an

 

 

 

Case number amended filing

(if known)
Official Form 106C
Schedule C: The Property You Claim as Exempt 04/16
as

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

BEE icentify the Property You Claim as Exempt

4. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

[7] You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b){3)
OI You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on Current value of Amount of the Specific laws that allow exemption
Schedule A/B that lists this property the portion you exemption you claim
own

Copy the value from Check only one box for

 

 

 

 

Schedule A/B each exemption
Brief description: $700.00 VM $700.00 Ind. Code § 34-55-10-2(c)(2)
household goods [I 100% of fair market
Line from Schedule A/B: 6 value, up to any
_ applicable statutory
limit
Brief description: $100.00 wv $100.00 Ind. Code § 34-55-10-2(c}(2)
television (] 100% of fair market
Line from Schedule A/B:__7 value, up to any
—— applicable statutory
limit

 

3. Are you claiming a homestead exemption of more than $160,375?
(Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

wy No

CC] Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
CW No
Cl] Yes

Official Form 106C Schedule C: The Property You Claim as Exempt page 1
Case 18-05406-JMC-7A

Debtor 1 Nijiah Muhammad Gearon

| Part 2: | Additional Page

Brief description of the property and line on
Schedule A/B that lists this property

Brief description:
clothing

Line from Schedule A/B: 11

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Case number (if known)

 

Amount of the
exemption you claim

Current value of
the portion you
own

Specific laws that allow exemption

Copy the value from Check only one box for
Schedule A/B each exemption

$250.00 vw $250.00
| 100% of fair market
value, up to any
applicable statutory
limit

Ind. Code § 34-55-10-2(c)(2)

 

Official Form 106C

Schedule C: The Property You Claim as Exempt page 2

 

 
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Fill in this information to identify your case:

 

 

Debtor 1 Nijiah Muhammad Gearon
First Name Middle Name Last Name

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA

Case number
(if known)

 

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[1 Check if this is an

amended filing

 

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

12/15

 

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.

On the top of any additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?

[v7] No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.

LI Yes. Fillin ail of the information below.

List All Secured Claims

2. List all secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim. If more than one
creditor has a particular claim, list the other creditors in Part 2. As
much as possible, list the claims in alphabetical order according to the
creditor's name.

 

Add the dollar value of your entries in Column A on this page. Write
that number here: $0.00

 

 

 

Official Form 106D Schedule D: Creditors Who Have Claims Secured by Property

 

page 1

 

 
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Fill in this information to identify your case:

Debtor 1 Nijiah__ Muhammad Gearon
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA

Case number
(if known)

 

LI Check if this is an
amended filing

 

 

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims 12115
LD

 

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY
claims. List the other party to any executory contracts or unexpired leases that could result ina claim. Also list executory contracts

on Schedule A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G).
Do not include any creditors with partially secured claims that are listed in Schedule D: Creditors Who Hold Claims Secured by Property.
If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page

to this page. On the top of any additional pages, write your name and case number (if known).

ae List All of Your PRIORITY Unsecured Claims

1. Do any creditors have priority unsecured claims against you?
[7] No. Go to Part 2.
tC Yes.

2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each
claim. For each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and
show both priority and nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If
more space is needed for priority unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular
claim, list the other creditors in Part 3.

(For an explanation of each type of claim, see the instructions for this form in the instruction booklet.
"Total clair

 
  

 

2.1

 

 

 

 

 

Priory Creditors Name Last 4 digits of account number

When was the debt incurred?

 

Number Street

 

As of the date you file, the claim is: Check all that apply.

 

 

Contingent
Unliquidated

City State ZIP Code 0 Disputed
Who incurred the debt? Check one. Type of PRIORITY unsecured claim:
[J Debtor 4 only [1 Domestic support obligations
CO Debtor 2 only Cl Taxes and certain other debts you owe the government
[] Debtor 1 and Debtor 2 only [] Claims for death or personal injury while you were
LL) Atleast one of the debtors and another intoxicated

LI Check if this claim is for a community debt [I Other. Specify

Is the claim subject to offset?
No

Ol Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1

 

 
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Debtor1 = Nijiah Muhammad Gearon

Case number (if known)

ie List All of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?

((] No. You have nothing to report in this part. Submit this form to the court with your other schedules.

ow Yes

4. List all of your nonpriority unsecured claim

s in the alphabetical order of the creditor who holds each claim.

if a creditor has more than one nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what
type of claim it is. Do not list claims already included in Part 1. If more than one creditor holds a particular claim, list the other creditors in
Part 3. If more space is needed for nonpriority unsecured claims, fill out the Continuation Page of Part 2.

 

 

41

 

 

Aarons Sales & Leasing
Nonpriority Creditor's Name
1015 Cobb Place Blvd.

Number Street

 

 

Kennesaw GA 30144
City State ZIP Code

Who incurred the debt? Check one.
Debtor i only
Debtor 2 only
Debtor 1 and Debtor 2 only

oO At least one of the debtors and another

[] Check if this claim is for a community debt
Is the claim subject to offset?

M No
| Yes

4.2

 

 

 

 

Aspen Dental

Nonpriority Creditor's Name
5945 Crawfordsville Rd
Number Street

 

 

 

Indianapolis IN 46224
City State ZIP Code
Who incurred the debt? Check one.

Debtor 4 only
Debtor 2 only
Debtor 1 and Debtor 2 only
[ Atleast one of the debtors and another
(J Check if this claim is for a community debt
Is the claim subject to offset?
[yj No
Oo Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

$1,000.00

Last 4 digits of account number
When was the debt incurred?

2016

As of the date you file, the claim is: Check all that apply.
CI Contingent

oO Unliquidated

oO Disputed

Type of NONPRIORITY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
fy] Other. Specify
Fees

$51.00
Last 4 digits of account number

2017

As of the date you file, the claim is: Check all that apply.
(J Contingent

oO Unliquidated

oO Disputed

When was the debt incurred?

Type of NONPRIORITY unsecured claim:
Student loans
oO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
(] Debts to pension or profit-sharing plans, and other similar debts
[7 Other. Specify
Dental

page 2

 
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Debtor 1 Nijiah Muhammad Gearon

Case number (if known)

nana

| Part 2: Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.
4.3
AT&T

Nonpriority Creditor's Name
PO Box 5014
Number Street

 

 

 

 

 

 

 

Carol Stream IL 60197
City : State ZIP Code
Who incurred the debt? Check one.

[YY Debtor 1 only
Debtor 2 only
LI Debtor 1 and Debtor 2 only
[] Atleast one of the debtors and another
[] Check if this claim is for a community debt
Is the claim subject to offset?
[yj No
Ol Yes

44

 

 

 

 

Brighthouse Networks
Nonpriority Creditor's Name

c/o Credit Protection Assoc.
Number Street

 

 

 

PO Box 9037

Addison TX 75001
City State ZIP Code
Who incurred the debt? Check one.

Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor 2 only
Cy At least one of the debtors and another
Ci Check if this claim is for a community debt
Is the claim subject to offset?
(7 No
Ol Yes

4.5

 

 

 

 

Brighthouse Networks
Nonpriority Creditor's Name
PO Box 30282

Number Street

 

 

 

Tampa FL 33630
City State ZIP Code
Who incurred the debt? Check one.

Debtor 1 only
(J Debtor 2 only
Debtor 1 and Debtor 2 only
[J] At least one of the debtors and another
LC] Check if this claim is for a community debt
Is the claim subject to offset?
I No
[] Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

$800.00
Last 4 digits of account number

When was the debt incurred? 2014

As of the date you file, the claim is: Check all that apply.

C1 Contingent
oO Unliquidated

Oo Disputed

Type of NONPRIORITY unsecured claim:
Student loans
{J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
(L)_ Debts to pension or profit-sharing plans, and other similar debts
fj Other. Specify
Cell Phone

$500.00
Last 4 digits of account number

When was the debt incurred?

2015
As of the date you file, the claim is: Check all that apply.

LJ Contingent
oO Unliquidated
oO Disputed

Type of NONPRIORITY unsecured claim:
[1] Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
© Other. Specify
Cable

$500.00
Last 4 digits of account number

When was the debtincurred? 2017

As of the date you file, the claim is: Check all that apply.
(1 Contingent

oO Unliquidated

oO Disputed

Type of NONPRIORITY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
© Other. Specify
Cable

page 3

 
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Debtor 4 Nijiah Muhammad Gearon

Case number (if known)

ir Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

46

 

 

 

 

Enhanced Recovery Company
Nonpriority Creditor's Name

PO Box 57547

Number Street

 

 

Jacksonville FL 32241
City State ZIP Code

Who incurred the debt? Check one.
[YJ Debtor 4 only
[] Debtor 2 only
Debtor 1 and Debtor 2 only
oO At least one of the debtors and another

[] Check if this claim is for a community debt
Is the claim subject to offset?

14 No
| Yes

47

GLA Collections
Nonpriority Creditor's Name
PO Box 991199

Number Street

 

 

 

 

 

 

Louisville KY 40269
City State ZIP Code

Who incurred the debt? Check one.
Debtor 1 only

[] Debtor 2 only
Debtor 1 and Debtor 2 only

CL] At least one of the debtors and another

oO Check if this claim is for a community debt
Is the claim subject to offset?

vw No
oO Yes

4.8

Harris & Harris LTD
Nonpriority Creditor's Name
111 W. Jackson Blvd. S 400

Number Street

 

 

 

 

 

 

Chicago IL 60604
City State ZIP Code

Who incurred the debt? Check one.
[Yj Debtor 1 only
(I) Debtor 2 only
Debtor 1 and Debtor 2 only
C] At least one of the debtors and another

(1) Check if this claim is for a community debt
Is the claim subject to offset?

Mw No
oO Yes

Last 4 digits ofaccountnumber
When was the debt incurred? 2013

As of the date you file, the claim is: Check ail that apply.

C1 Contingent
oO Unliquidated

CI Disputed

Type of NONPRIORITY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
[fy] Other. Specify
AT&T

Last 4 digits ofaccountnumber
When was the debtincurred? 2013

As of the date you file, the claim is: Check all that apply.
[1 Contingent

oO Unliquidated

Oo Disputed

Type of NONPRIORITY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
Y Other. Specify
IU Dept of OBGYN

Last 4 digits of account number ae
When was the debtincurred? 2015

As of the date you file, the claim is: Check all that apply.
[1 Contingent

| Unliquidated

oO Disputed

Type of NONPRIORITY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[I] Debts to pension or profit-sharing plans, and other similar debts
© Other. Specify
University Urologist

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims

 

 

$889.00

$551.00

$1,367.00

page 4

 
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Debtor1 = Nijiah Muhammad Gearon

Case number (if known)

Eira Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.
49

Harris & Harris LTD
Nonpriority Creditor's Name

111 W. Jackson Bivd. S 400

 

 

 

 

 

 

 

 

Number Street

Chicago IL 60604
City State ZIP Code
Who incurred the debt? Check one.

Debtor 1 only
[J Debtor 2 only
Debtor 1 and Debtor 2 only
LD Atleast one of the debtors and another

0 Check if this claim is for a community debt
Is the claim subject to offset?

7 No
| Yes

4.10
Harris & Harris LTD

Nonpriority Creditor's Name

111 W. Jackson Blvd. S 400

 

 

 

 

 

 

 

 

Number Street

Chicago IL 60604
City State ZIP Code
Who incurred the debt? Check one.

[7] Debtor 1 only

[1] Debtor 2 only

[1] Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

(1 Check if this claim is for a community debt
Is the claim subject to offset?

vw No
oO Yes

4.11
IMC Credit Services

Nonpriority Creditors Name

8019 Castleton Rd

 

 

 

 

 

 

 

 

Number Street

Indianapolis IN 46250
City State ZIP Code
Who incurred the debt? Check one.

Debtor 1 only
Debtor 2 only
([] Debtor 1 and Debtor 2 only
[I] Atleast one of the debtors and another
[0 Check if this claim is for a community debt
Is the claim subject to offset?
J No
OO Yes

Official Form 106E/F

Last 4 digits of account number |
2014
As of the date you file, the claim is: Check all that apply.

CJ Contingent
CO Uniiquidated

(] Disputed

When was the debt incurred?

Type of NONPRIORITY unsecured claim:
[J Student loans
[J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[[] Debts to pension or profit-sharing plans, and other similar debts
[YJ Other. Specify
IC UFP Fam Med

Last 4 digits of account number

2014

As of the date you file, the claim is: Check all that apply.
(1 Contingent

CT Uniiquidated

CO Disputed

When was the debt incurred?

Type of NONPRIORITY unsecured claim:
([] Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
fy] Other. Specify
IU Health

Last 4 digits of account number

2013

As of the date you file, the claim is: Check all that apply.
C1 Contingent

( Unliquidated

CJ Disputed

When was the debt incurred?

Type of NONPRIORITY unsecured claim:
[LJ Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
[J Other. Specify
University Clincial Pathology

Schedule E/F: Creditors Who Have Unsecured Claims

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$152.00

$536.00

$150.00

page 5

 

 

 
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Debtor? —_Nijiah Muhammad Gearon

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Case number (if known)

 

ir Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.
4.12
Med-i Solutions

 

 

 

 

 

Nonpriority Creditor's Name

517 US Highway 31.N

 

Number Street

 

 

 

Greenwood IN 46142
City State ZIP Code
Who incurred the debt? Check one.

fy] Debtor 1 only
Debtor 2 only
[[] Debtor 1 and Debtor 2 only
[J Atleast one of the debtors and another
CL Check if this claim is for a community debt

ls the claim subject to offset?

M No
oO Yes

4.13

 

 

 

 

Medical Associates

 

Nonpriority Creditor’s Name

PO Box 6276 Dept. 20

 

Number Street

 

 

Indianapolis IN 46206

 

City State ZIP Code
Who incurred the debt? Check one.
[yy] Debtor 1 only
Debtor 2 only
[(] Debtor 1 and Debtor 2 only
'qyat least one of the debtors and another

((] Check if this claim is for a community debt
ls the claim subject to offset?

Mw No
oO Yes

4.14

 

 

 

 

Rainbow Realty Group

 

Nonpriority Creditor's Name
6104 E. 21st Street

 

Number Street

 

 

 

Indianapolis IN 46219
City State ZIP Code
Who incurred the debt? Check one.

fy] Debtor 1 only
Debtor 2 only
(J Debtor 1 and Debtor 2 only
[[] At least one of the debtors and another
[1] Check if this claim is for a community debt
Is the claim subject to offset?
fy] No
oO Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

$1,530.81

Last 4 digits ofaccountnumber 5 5 2 1°

When was the debtincurred? 2017
As of the date you file, the claim is: Check all that apply.

C1 Contingent
(1 Unliquidated

LJ Disputed

Type of NONPRIORITY unsecured claim:
( Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
[YJ Other. Specify
Community Health Network

$331.00
Last 4 digits of account number

When was the debt incurred? 2017

As of the date you file, the claim is: Check all that apply.

[J Contingent
CL) Unliquidated
oO Disputed

Type of NONPRIORITY unsecured claim:
[I] Student loans
[I] Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
[[) Debts to pension or profit-sharing plans, and other similar debts
fy] Other. Specify
Medical

$1,000.00
Last 4 digits of accountnumber
When was the debtincurred? 2016

As of the date you file, the claim is: Check all that apply.
1 Contingent

oO Unliquidated

[] Disputed

Type of NONPRIORITY unsecured claim:
Student loans
[J Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Oo Debts to pension or profit-sharing plans, and other similar debts
[7] Other. Specify
Contract Breach

page 6

 

 

 

 

 

 

 

 
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Debtor? Nijiah Muhammad Gearon

Case number (if known)

Tee Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the

previous page.

4.15

 

 

 

 

Spanish Oak Apartments
Nonpriority Creditor’s Name
3645 Wingate Court

Number Street
indianapolis, IN 46246235

 

 

City State ZIP Code
Who incurred the debt? Check one.
Debtor 7 only
Debtor 2 only
Debtor 1 and Debtor 2 only
Ol At least one of the debtors and another

(] Check if this claim is for a community debt

Is the claim subject to offset?
[7 No

oO Yes

4.16

 

 

 

 

Sprint
Nonpriority Creditor's Name

6200 Sprint Parkway
Number _ Street

 

 

66251

 

Overland Park KS
City State ZIP Code
Who incurred the debt? Check one.

Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor 2 only
oO At least one of the debtors and another
Lj Check if this claim is for a community debt
Is the claim subject to offset?
M No
oO Yes

4.17

 

 

 

 

University Clinical Pathology

Nonpriority Creditor's Name

 

 

 

 

Dept. 78816

Number Street

PO Box 78000

Detroit Mi 48278
City State ZIP Code

Who incurred the debt? Check one.
Debtor 1 only
Debtor 2 only
Debtor 1 and Debtor 2 only

o At least one of the debtors and another

[[] Check if this claim is for a community debt
is the claim subject to offset?

wv No
oO Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

 

$2,000.00
Last 4 digits of account number

When was the debt incurred?

2013
As of the date you file, the claim is: Check all that apply.

LL] Contingent
0 Unliquidated
Co Disputed

 

Type of NONPRIORITY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Contract Breach

$350.00
Last 4 digits of account number

2015
As of the date you file, the claim is: Check all that apply.

C] Contingent
oO Unliquidated
oO Disputed

When was the debt incurred?

Type of NONPRIORITY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Debts to pension or profit-sharing plans, and other similar debts
[7 Other. Specify
Cell Phone

$150.00
Last 4 digits of account number

2017
As of the date you file, the claim is: Check all that apply.

[1 Contingent
Oo Unliquidated

oO Disputed

When was the debt incurred?

Type of NONPRIORITY unsecured claim:
Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

[1] Debts to pension or profit-sharing plans, and other similar debts
Other. Specify
Medical

page 7

 

 
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Debtor 1 Nijiah Muhammad Gearon Case number (if known)

Tae Your NONPRIORITY Unsecured Claims -- Continuation Page

After listing any entries on this page, number them sequentially from the
previous page.

 

 

 

 

 

 

 

 

 

 

4.18 $2,000.00
Village at Mills Crossing Last 4 digits of account number _
Nonpriority Creditor's Name : 2
clo Peters & Steel PC When was the debt incurred? 2011
Number Street As of the date you file, the claim is: Check all that apply.
8902B Otis Ave, Se 200B (1 Contingent
0 Unliquidated
oO Disputed
Indianapolis IN 46216
City State ZIP Code Type of NONPRIORITY unsecured claim:

Who incurred the debt? Check one.
Debtor 1 only
Debtor 2 only

Student loans
Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debtor 1 and Debtor 2 only : : . a
[J Debts to pension or profit-sharing plans, and other similar debts
(At least one of the debtors and another i Other. Specify

LO Check if this claim is for a community debt Contract Breach
Is the claim subject to offset?

M No
oO Yes

Official Form 106E/F Schedule E/F: Creditors Who Have Unsecured Claims page 8

 
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Debtor 1 Nijiah Muhammad Gearon

nee Acc the Amounts for Each Type of Unsecured Claim

Case number (if known)

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only.
28 U.S.C. § 159. Add the amounts for each type of unsecured claim.

Total claims 6a.

from Part 1

6b.

6c.

6d.

6e.

Total claims 6f.
from Part 2

6g.

6h.

Gi.

Gj.

Official Form 106E/F

Domestic support obligations
Taxes and certain other debts you owe the government
Claims for death or personal injury while you were intoxicated

Other. Add all other priority unsecured claims. Write that amount here.

Total. Add lines 6a through 6d.

Student loans

Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

Debts to pension or profit-sharing plans, and other similar
debts

Other. Add all other nonpriority unsecured claims. Write that amount here.

Total. Add lines 6f through 6i.

6a.

6b.

6c.

6d.

6d.

6F.

6g.

6h.

6i.

gj.

Schedule E/F: Creditors Who Have Unsecured Claims

Total claim

$0.00

$0.00

 

$0.00

 

+ $0.00

 

$0.00

 

 

 

Total claim

$0.00

$0.00

$0.00

+ $13,857.81

 

$13,857.81

 

 

 

 

page 9

 

 
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Fill in this information to identify your case:

Debtor 1 Nijiah Muhammad Gearon

First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA

Case number
(if known)

 

 

Check if this is an
amended filing

 

 

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page.
On the top of any additional pages, write your name and case number (if known).

1. Doyou have any executory contracts or unexpired leases?

No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
C] Yes. Fil in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease
is for (for example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of
executory contracts and unexpired leases.

Person or company with whom you have the contract or lease State what the contract or lease is for

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1
Case 18-05406-JMC-7A Doc1 Filed 07/17/18 EOD 07/17/18 15:21:43 Pg 31 of 54

Fill in this information to identify your case:

Debtor 1 Nijiah Muhammad Gearon
First Name Middie Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA

 

Grow [1 Check if this is an

amended filing

 

  

 

 

Official Form 106H
Schedule H: Your Codebtors 42/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If
two married people are filing together, both are equally responsible for supplying correct information. If more space is
needed, copy the Additional Page, fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this
page. On the top of any Additional Pages, write your name and case number (if known). Answer every question.

4. Doyou have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
MI No
Oo Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories
include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

No. Go to line 3.

CO Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
( No
oO Yes

3. In Column, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the
person shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the
creditor on Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use
Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check all schedules that apply:

Official Form 106H Schedule H: Your Codebtors page 1
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Fill in this information to identify your case:

Debtor 1 Nijiah Muhammad Gearon
First Name Middle Name Last Name Check if this is:

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

O Anamended filing

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA OA” supplement showing postpetition
chapter 13 income as of the following date:

 

Case number
(if known)

Official Form 1061
Schedule !: Your Income 12/15

 

MM/DD/YYYY

 

Be as complete and accurate as possible. If two married people are filing together (Debtor 4 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

BEEEE Describe Employment

4. Fill in your employment

 

 

 

 

 

information. Debtor 1 Debtor 2 or non-filing spouse
If you have more than one
job, attach a separate page #§ Employment status Employed [C1 Employed
with information about C0 Not employed LI Not employed
additional employers.
Occupation Phiobotomist
include part-time, seasonal,
or self-employed work. Employer's name CSC Plasma
Occupation may include Employer's address 5550 E. Washington St
student or homemaker, if it Number Street Number Street

applies. Indianapolis, IN

 

 

City State Zip Code City State Zip Code

How long employed there? 15 months

| Part 2: MeN Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated. :

if you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. if
you need more space, attach a separate sheet to this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

 

 

 

2. List monthly gross wages, salary, and commissions (before all 2. $2,214.00
payroll deductions). If not paid monthly, calculate what the monthly wage
would be.
3. Estimate and list monthly overtime pay. 3. + $0.00
4. Calculate gross income. Add line 2 + line 3. 4. $2,214.00

 

 

 

 

 

 

Official Form 1061 Schedule |: Your income page 1
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Debtor 4 Nijiah Muhammad Gearon Case number (if known)
For Debtor 1 For Debtor 2 or
non-filing spouse
Copy line 4 Were oc. sssesssescsssesssnserssensscenseusassonsrsessensesnensensenesarenenaesueee => 4. $2,214.00
5. List all payroll deductions:
5a. Tax, Medicare, and Social Security deductions 5a. $284.00
5b. Mandatory contributions for retirement plans 5b. $0.00
5c. Voluntary contributions for retirement plans 5c. $0.00
5d. Required repayments of retirement fund loans 5d. $0.00
5e. Insurance 5e. $0.00
5f. Domestic support obligations 5f. $0.00
5g. Union dues 5g. $0.00
5h. Other deductions.
Specify: 5h.+ $0.00
6. Poa ne payroll deductions. Add lines 5a+ Sb+5c+Sd+5e+5f+ 6. $284.00
g + on.
7. Calculate total monthly take-home pay. Subtract line 6 from line 4.7. $1,930.00
List all other income regularly received: -
8a. Net income from rental property and from operating a 8a. $0.00

 

business, profession, or farm

Attach a statement for each property and business showing
gross receipts, ordinary and necessary business expenses, and
the total monthly net income.

8b. Interest and dividends 8b. $0.00

8c. Family support payments that you, a non-filing spouse, or a 8c. $0.00
dependent regularly receive

 

 

include alimony, spousal support, child support, maintenance,
divorce settlement, and property settlement.

8d. Unemployment compensation 8d. $0.00
8e. Social Security 8e. $0.00
8f. Other government assistance that you regularly receive

Include cash assistance and the value (if known) or any non-

cash assistance that you receive, such as food stamps

(benefits under the Supplemental Nutrition Assistance Program)

or housing subsidies.

 

 

 

 

 

 

 

 

 

 

Specify: Food Stamps 8f. $303.00
8g. Pension or retirement income 8g. $0.00
8h. Other monthly income.
Specify: 8h. 4 $0.00
9. Addall other income. Add lines 8a+ 8b + 8c + 8d+8e+8f+8g+8h. 9. $303.00
10. Calculate monthly income. Add line 7 + line 9. 10. $2,233.00 | + = $2,233.00
Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

 

 

 

 

 

 

 

 

44. State all other regular contributions to the expenses that you list in Schedule J.
Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

 

 

 

 

Specify: 11. + $0.00
42. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly 12. $2,233.00

income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, -

if it applies. Combined

monthly income
13. Do you expect an increase or decrease within the year after you file this form?
YJ No. None.
C1 Yes. Explain:

 

 

 

Official Form 106! Schedule I: Your Income page 2

 

 
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Fill in this information to identify your case:

Check if this is:

 

 

 

 

 

Debtor 1 Nijiah Muhammad Gearon [] An amended filing

First Name Middle Name Last Name [] Asupplement showing postpetition
Debtor 2 chapter 13 expenses as of the
(Spouse, if filing) First Name Middle Name Last Name following date:
United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA MM/DD/YYYY.
Case number
(if known)

 

Official Form 106J
Schedule J: Your Expenses 42/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.

ae Describe Your Household

1. Is this a joint case?

I No. Go to line 2.
LC] Yes. Does Debtor 2 live ina separate household?

01 No

CL Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2. Do you have dependents? CI No

 

 

 

 

 

 

. : lei : Dependent's relationship to Dependent's Does dependent
Do not list Debtor 1 and wi amen Sonondent Debtor 1 or Debtor 2 age live with you?
Debtor2,  ___ Por each dependent...
Daughter 7 cl ve
Do not state the dependents’ N
names. Son 3 L] No
VV Yes
[1 No
Daughter 3 i Yes
[] No
CI Yes
C] No
OO Yes
3. Do your expenses include 4 No
expenses of people other than (1 Yes

yourself and your dependents?

in Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.

Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule [: Your Income (Official Form 1061.) Your expenses

 

4. The rental or home ownership expenses for your residence. 4. $650.00
Include first mortgage payments and any rent for the ground or lot.

If not included in line 4:

4a. Real estate taxes 4a. $0.00
4b. Property, homeowner's, or renter's insurance 4b. $0.00
4c. Home maintenance, repair, and upkeep expenses 4c. $0.00
4d. Homeowner's association or condominium dues 4d. $0.00

Official Form 106J Schedule J: Your Expenses page 1

 

 

 
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Debtor 1 Nijiah Muhammad Gearon

10.
11.
12.

13.

14.
15.

16.

17.

18.

19.

Utilities:

6d. Other. Specify:

Case number (if known)

Your expenses

 

magazines, and books

Insurance.

15a. Life insurance

15b. Health insurance

 

Specify:

 

17c. Other. Specify:

 

17d. Other. Specify:

 

Additional mortgage payments for your residence, such as home equity loans 5.
6a. Electricity, heat, natural gas 6a.
6b. Water, sewer, garbage collection 6b.
6c. Telephone, cell phone, Internet, satellite, and 6c.
cable services

6d.
Food and housekeeping supplies 7.
Childcare and children's education costs 8.
Clothing, laundry, and dry cleaning 9.
Personal care products and services 10.
Medical and dental expenses 11.
Transportation. Include gas, maintenance, bus or train 12.
fare. Do not include car payments.
Entertainment, clubs, recreation, newspapers, 13.
Charitable contributions and religious donations 14.
Do not include insurance deducted from your pay or included in lines 4 or 20.

15a.

15b.
15c. Vehicle insurance 15c.
15d. Other insurance. Specify: 15d.
Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.

16.
Installment or lease payments:
17a. Car payments for Vehicle 1 17a.
17b. Car payments for Vehicle 2 17b.

17c.

17d.
Your payments of alimony, maintenance, and support that you did not report as 18.
deducted from your pay on line 5, Schedule |, Your Income (Official Form 106).
Other payments you make to support others who do not live with you. 19

Specify:

 

Official Form 106J Schedule J: Your Expenses

0.00

$154.00
$220.00
$60.00

$0.00

$500.00
___ $100.00
$200.00
___ $150.00
_____ $0.00
$125.00

$100.00

0.00

$0.00
$0.00
$0.00
$0.00

0.00
$0.00
$0.00
$0.00

$0.00
$0.00

0.00

page 2

 
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Debtor 4 Nijiah Muhammad Gearon

 

Case number (if known)

 

 

 

 

 

 

 

 

 

 

 

20. Other real property expenses not included in lines 4 or 5 of this form or on
Schedule |: Your Income.
20a. Mortgages on other property 20a. $0.00
20b. Real estate taxes 20b. $0.00
20c. Property, homeowner's, or renter's insurance 20c. $0.00
20d. Maintenance, repair, and upkeep expenses 20d. $0.00
20e. Homeowner's association or condominium dues 20e. $0.00
21. Other. Specify: 21.0 4
22. Calculate your monthly expenses.
22a. Add lines 4 through 21. 22a. $2,259.00
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2. 22b.
22c. Add line 22a and 22b. The result is your monthly expenses. 22¢. $2,259.00
23. Calculate your monthly net income.
23a. Copy line 12 (your combined monthly income) from Schedule |. 23a. $2,233.00
23b. Copy your monthly expenses from line 22c above. 23b. — $2,259.00
23c. Subtract your monthly expenses from your monthly income.
The result is your monthly net income. 23c, | _____— ($26.00).
24. Do you expect an increase or decrease in your expenses within the year after you file this form?
For example, do you expect to finish paying for your car loan within the year or do you expect your morigage
payment to increase or decrease because of a modification to the terms of your mortgage?
M1 No.
C1 Yes. Explain here:
None.
Official Form 106J Schedule J: Your Expenses page 3

 

 

 

 
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Fill in this information to identify your case:

Debtor 1 Nijiah Muhammad Gearon
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA

 

Gi Seon (1 Check if this is an

amended filing

 

 

Official Form 106Dec
Declaration About an Individual Debtor's Schedules 42115

 

If two married people are filing together, both are equally responsible for supplying correct information.
You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement,

concealing property, or obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to
$250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

P| Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

(] No

MI Yes. Name of person Regenia Smith Attach Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119).

Under penalty of perjury, | declare that | have read the summary and schedules filed with this declaration and that they are
true and correct.

AivitAafoBl KA X

Nijianf Muhammad Gearon, Debtor 1 Signature of Debtor 2

 

Date Date
MM/DD/YYYY MM/DD/IYYYY

Official Form 106Dec Declaration About an Individual Debtor's Schedules page 1

 
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Fill in this information to identify your case:

Debtor 4 Nijiah Muhammad Gearon
First Name Middie Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA

Ron (C1 Check if this is an

amended filing

 

 

 

Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy 04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

Ea Give Details About Your Marital Status and Where You Lived Before

4. What is your current marital status?
Ol Married
VM Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

fy No

oO Yes. List all of the places you lived in the last 3 years. Do not include where you live now,

3. Within the last 8 years, did you ever live with a spouse or legal equivalent ina community property state or territory?
(Community property states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas,
Washington, and Wisconsin.)

[71 No

CJ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1

 
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Debtor 1 Nijiah Muhammad Gearon Case number (if known)

Ro Explain the Sources of Your Income

 

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
if you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.
[] No
M Yes. Fill in the details.
Sources of income Gross income Sources of income Gross income
Check all that apply. . (before deductions Check all that apply. (before deductions
and exclusions and exclusions
From January 1 of the current year until [7] Wages, commissions, $14,395.89 [| Wages, commissions,
the date you filed for bankruptcy: bonuses, tips bonuses, tips
oO Operating a business LD Operating a business
For the last calendar year: [v1 Wages, commissions, $26,568.00 [] Wages, commissions,
J 1toD ber 31 bonuses, tips bonuses, tips
nu o December 31, . . . .
(January ° 2017 _} oO Operating a business oO Operating a business
For the calendar year before that: [1 Wages, commissions, $24,200.00 [[j Wages, commissions,
J ‘tod ber 34 bonuses, tips bonuses, tips
a ecember 31, . : : :
(January 1 to Decembe 2016 ) Cl Operating a business Cl Operating a business

Did you receive any other income during this year or the two previous calendar years?

Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security;
unemployment; and other public benefit payments; pensions; rental income; interest; dividends, money collected from lawsuits; royalties;
and gambling and lottery winnings. If you are ina joint case and you have income that you received together, list it only once under
Debtor 7.

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

4 No
oO Yes. Fill in the details.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 2

 
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Debtor1 — Nijiah Muhammad Gearon Case number (if known)

 

ee List Certain Payments You Made Before You Filed for Bankruptcy
6. Are either Debtor 1's or Debtor 2's debts primarily consumer debts?

No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
[I No. Go to line 7.

Yes. List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as
child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.

M1 Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?
wi No. Go to line 7.

Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor, Do not include payments for domestic support obligations, such as child support and alimony.
Also, do not include payments to an attorney for this bankruptcy case.

7. Within 4 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners, relatives of any general partners; partnerships of which you are a general partner,
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations
such as child support and alimony.

IJ No

Cl Yes. List all payments to an insider.

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that
benefited an insider?

Include payments on debts guaranteed or cosigned by an insider.

wy No

CT Yes. List all payments that benefited an insider.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 3

 
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Debtor 4 Nijiah Muhammad Gearon Case number (if known)

identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
modifications, and contract disputes.

Mw No
CI Yes. Fill in the details.

10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached,
seized, or levied?
Check all that apply and fill in the details below.

Mw No. Go to line 741.
Oo Yes. Fill in the information below.

441, Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any
amounts from your accounts or refuse to make a payment because you owed a debt?

No

oO Yes. Fill in the details.

12. Within 4 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

4 No
oO Yes

eo List Certain Gifts and Contributions

143. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

1 No

[] Yes. Fill in the details for each gift.
44, Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600

to any charity?

[7 No

( Yes. Fillin the details for each gift or contribution.

Eon List Certain Losses

45. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire,
other disaster, or gambling?

[vy] No

oO Yes. Fill in the details.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 4

 

 
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Debtor 1 Nijiah Muhammad Gearon Case number (if known)

List Certain Payments or Transfers

46. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone you consulted about seeking bankruptcy or preparing a bankruptcy petition?

 

include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required for your bankruptcy.

oO No
i Yes. Fillin the details.

 

Description and value of any property transferred Date payment Amount of
Regenia Smith ortransfer was payment
Person Who Was Paid made
6201 La Pas Tr, Ste. 230 03/23/2017 $250.00

 

 

Number = Street

 

 

Indianapolis IN 46268
City State ZIP Code

 

Email or website address

 

Person Who Made the Payment, if Not You

47. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to
anyone who promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

[7 No

CO Yes. Fill in the details.

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than
property transferred in the ordinary course of your business or financial affairs?

Include both outright transfers and transfers made as security (such as granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

No

Oo Yes. Fill in the details.

49. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which
you are a beneficiary? (These are often called asset-protection devices.)

1 No

oO Yes. Fill in the details.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

 

 
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Debtor 4 Nijiah Muhammad Gearon Case number (if known)

 

List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 4 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your
benefit, closed, sold, moved, or transferred?

Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
houses, pension funds, cooperatives, associations, and other financial institutions.

fy] No

Oo Yes. Fillin the details.

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository
for securities, cash, or other valuables?

fy No

oO Yes. Fill in the details.

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?
No
Cl Yes. Fill in the detaiis.

BEE centity Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.

vw No
| Yes. Fill in the details.

ion Give Details About Environmental Information
For the purpose of Part 10, the following definitions apply:

m Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substance, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

™ Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

™ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar item.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental
law?

[J No

Oo Yes. Fill in the details.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 6

 

 
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Debtor 1 Nijiah Muhammad Gearon Case number (if known)

25. Have you notified any governmental unit of any release of hazardous material?
I No
LO Yes. Fill in the details.

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and
orders.

J Ne

LD Yes. Fill in the details.

| Part 11: Rene Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any
business?

( Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
oO A member of a limited fiability company (LLC) or limited liability partnership (LLP)

oO A partner in a partnership

oO An officer, director, or managing executive of a corporation

( An owner of at least 5% of the voting or equity securities of a corporation

1 No. None of the above applies. Go to Part 12.
CO Yes. Check all that apply above and fill in the details below for each business.

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include
all financial institutions, creditors, or other parties.

LI No

oO Yes. Fill in the details below.

Bikes sion Below

| have read the answers on this Statement of Financial Affairs and any attachments, and | deciare under penalty of perjury
that answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or
property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

Nijiah’Muhammad Gearon, Debtor 4 Signature of Debtor 2

 

Date Date

 

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

vj No *
o Yes .
Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

LL No

Yes. Name of person Regenia Smith Attach the Bankruptcy Petition Preparer's Notice,

 

Declaration, and Signature (Official Form 119).

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

 
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Fill in this information to identify your case:

Debtor 1 Nijiah Muhammad Gearon
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middie Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA

rennet LI Check if this is an

amended filing

 

 

 

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 12/15
aD

If you are an individual filing under chapter 7, you must fill out this form if:

™ creditors have claims secured by your property, or

m you have leased personal property and the lease has not expired,

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting

of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).

eee List Your Creditors Who Hold Secured Claims

4. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
fill in the information below.

Identify the creditor and the property that is collateral What do you intend to do with the Did you claim the property
property that secures a debt? as exempt on Schedule C?

None.

| Part 2: List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

Describe your unexpired personal property leases Will this lease be assumed?

None.

Eine Sign Below

Under penalty of perjury, | declare that | have indicated my intention about any property of my estate that secures a debt and
personal property that is subjecf/to an unexpired lease.

Nijiah Muhammad Gearon, Debtor 4 Signature of Debtor 2

 

 

Date Date
MM/DD/YYYY MM /DD/YYYY

Official Form 108 Statement of intention for Individuals Filing Under Chapter 7 page 1

 

 
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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)

 

This notice is for you if:

® You are an individual filing for bankruptcy,
and

® Your debts are primarily consumer debts.
Consumer debts are defined in 11 U.S.C. § 101(8)
as “incurred by an individual primarily for a
personal, family, or household purpose."

 

 

Chapter 7: Liquidation

 

$245 _ filing fee
$75 administrative fee
+ $15 trustee surcharge

 

 

 

The types of bankruptcy that are available
to individuals

Individuals who meet the qualifications may file under one
of four different chapters of the Bankruptcy Code:

® Chapter 7 -- Liqudation
® Chapter 11 -- Reorganization

@ Chapter 12 -- Voluntary repayment plan for family
farmers or fishermen

@ Chapter 13 -- Voluntary repayment plan for
individuals with regular income

You should have an attorney review your
decision to file for bankruptcy and the choice
of chapter.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

$335 total fee

Chapter 7 is for individuals who have financial difficulty
preventing them from paying their debts and who are
willing to allow their non-exempt property to be used to
pay their creditors. The primary purpose of filing under
chapter 7 is to have your debts discharged. The
bankruptcy discharge relieves you after bankruptcy from
having to pay many of your pre-bankruptcy debts.
Exceptions exist for particular debts, and liens on
property may still be enforced after discharge. For
example, a creditor may have the right to foreclose a
home mortgage or repossess an automobile.

However, if the court finds that you have committed
certain kinds of improper conduct described in the
Bankruptcy Code, the court may deny your discharge.

You should know that the even if you file chapter 7 and
you receive a discharge, some debts are not discharged
under the law. Therefore, you may still be responsible to

pay:
® most taxes;

® most student loans;

© domestic support and property settlement obligations;

page 1

 
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® most fines, penalties, forfeitures, and criminal
restitution obligations; and

e@ certain debts that are not listed in your bankruptcy
papers.

You may also be required to pay debts arising from:

@ fraud or theft;

@ fraud or defalcation while acting in breach of fiduciary
capacity;

® intentional injuries that you inflicted; and

@ death or personal injury caused by operating a motor
vehicle, vessel, or aircraft while intoxicated from
alcohol or drugs.

If your debts are primarily consumer debts, the court can
dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount. You
must file Chapter 7 Statement of Your Current Monthly
Income (Official Form 122A-1) if you are an individual filing
for bankruptcy under chapter 7. This form will determine
your current monthly income and compare whether your
income is more than the median income that applies in
your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,
the Chapter 7 Means Test Calculation (Official Form
122A-2).

If your income is above the median for your state, you must
file a second form--the Chapter 7 Means Test Calculation
(Official Form 122A-2). The calculations on the form--
sometimes called the Means Test-- deduct from your

income living expenses and payments on certain debts to
determine any amount available to pay unsecured
creditors. If your income is more than the median income

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)

for your state of residence and family size, depending

on the results of the Means Test, the U.S. trustee,
bankruptcy administrator, or creditors can file a motion to
dismiss your case under § 707(b) of the Bankruptcy
Code. If a motion is filed, the court will decide if your
case should be dismissed. To avoid dismissal, you may
choose to proceed under another chapter of the
Bankruptcy Code.

if you are an individual filing for chapter 7 bankruptcy, the
trustee may sell your property to pay your debts, subject
to your right to exempt the property or a portion of the
proceeds from the sale of the property. The property,
and the proceeds from property that your bankruptcy
trustee sells or liquidates that you are entitled to, is
called exempt property. Exemptions may enable you to
keep your home, a car, clothing, and household items or
to receive some of the proceeds if the property is sold.

Exemptions are not automatic. To exempt property, you
must list it on Schedule C: The Property You Claim as
Exempt (Official Form 106C). If you do not list the
property, the trustee may sell it and pay all of the
proceeds to your creditors.

 

 

 

Chapter 11: Reorganization

 

 

$1,167 _ filing fee
+ $550 administrative fee
$1,717 total fee

Chapter 11 is often used for reorganizing a business, but
is also available to individuals. The provisions of chapter
11 are too complicated to summarize briefly.

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Read These Important Warnings

 

Because bankruptcy can have serious long-term financial and legal consequences, including loss of
your property, you should hire an attorney and carefully consider all of your options before you file.
Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
properly and protect you, your family, your home, and your possessions.

 

Although the law allows you to represent yourself in bankruptcy court, you should understand that
many people find it difficult to represent themselves successfully. The rules are technical, anda
mistake or inaction may harm you. If you file without an attorney, you are still responsible for
knowing and following all of the legal requirements.

 

You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
necessary documents.

Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up
to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

 

 

 

Under chapter 13, you must file with the court a plan to
Chapter 12: Repayment plan for family farmers repay your creditors all or part of the money that you owe
or fishermen them, usually using your future earnings. If the court
approves your plan, the court will allow you to repay your
debts, as adjusted by the plan, within 3 years or 5 years,
$200 filing fee depending on your income and other factors.
+ $75 administrative fee

$275 total fee

 

 

After you make all the payments under your plan, many
of your debts are discharged. The debts that are not

Similar to chapter 13, chapter 12 permits family farmers discharged and that you may still be responsible to pay

and fishermen to repay their debts over a period of time include:
using future earnings and to discharge some debts that
are not paid. @ domestic support obligations,

most student loans,

 

certain taxes,

debts for fraud or theft,

Chapter 13: Repayment plan for individuals with
regular income

 

debts for fraud or defalcation while acting ina

$235 filing fee fiduciary capacity,

+ $75 administrative fee
$310 total fee

most criminal fines and restitution obligations,

 

® certain debts that are not listed in your bankruptcy

Chapter 13 is for individuals who have regular income papers,

and would like to pay all or part of their debts in
installments over a period of time and to discharge
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain
dollar amounts set forth in 11 U.S.C. § 109.

® certain debts for acts that caused death or personal
injury, and

® certain long-term secured debts.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010) page 3
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A married couple may file a bankruptcy case together--
called a joint case. If you file a joint case and each
spouse lists the same mailing address on the
bankruptcy petition, the bankruptcy court generally will
mail you and your spouse one copy of each notice,
unless you file a statement with the court asking that
each spouse receive separate copies.

Warning: File Your Forms on Time

Section 521(a)(1) of the Bankruptcy Code requires
that you promptly file detailed information about
your creditors, assets, liabilities, income, expenses
and general financial condition. The court may
dismiss your bankruptcy case if you do not file this
information within the deadlines set by the
Bankruptcy Code, the Bankruptcy Rules, and local

rules of the court. Understand which services you could

receive from credit counseling agencies
For more information about the documents and

their deadlines, go to:
The law generally requires that you receive a credit
counseling briefing from an approved credit counseling
agency. 11 U.S.C. § 109(h). If you are filing a joint
case, both spouses must receive the briefing. With
limited exceptions, you must receive it within the 180
days before you file your bankruptcy petition. This
briefing is usually conducted by telephone or on the
Internet.

http:/Avww.uscourts.gov/bkforms/bankruptcy forms
.html#procedure.

 

 

 

Bankruptcy crimes have serious
consequences

in addition, after filing a bankruptcy case, you generally
must complete a financial management instructional

@ If you knowingly and fraudulently conceal assets or
make a false oath or statement under penalty of

perjury--either orally or in writing--in connection with
a bankruptcy case, you may be fined, imprisoned, or
both.

All information you supply in connection with a
bankruptcy case is subject to examination by the
Attorney General acting through the Office of the
U.S. Trustee, the Office of the U.S. Attorney, and
other offices and employees of the U.S. Department
of Justice.

Make sure the court has your mailing
address

course before you can receive a discharge. If you are
filing a joint case, both spouses must complete the
course.

You can obtain the list of agencies approved to provide
both the briefing and the instructional course from:

http: //justice.gov/ust/eo/hapcpa/ccde/cc_approved.html.

In Alabama and North Carolina, go to:

http:/Awww.uscourts.gov/FederalCourts/Bankruptcy/Bankru
ptcyResources/ApprovedCreditAndDebtCounselors.aspx.

if you do not have access to a computer, the clerk of the
bankruptcy court may be able to help you obtain the list.

The bankruptcy court sends notices to the mailing address
you list on Voluntary Petition for Individuals Filing for
Bankruptcy (Official Form 101). To ensure you receive
information about your case, Bankruptcy Rule 4002
requires that you notify the court of any changes in your
address.

Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010) page 4
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Fill in this information to identify the case:

Debtor 1 Nijiah Muhammad Gearon
First Name Middle Name Last Name

Debtor 2
(Spouse, if filing) First Name Middle Name Last Name

 

United States Bankruptcy Court for the: SOUTHERN DISTRICT OF INDIANA

Case number Chapter 7
(if known)

 

 

Official Form 119
Bankruptcy Petition Preparer's Notice, Declaration, and Signature 12/15

 

Bankruptcy petition preparers as defined in 11 U.S.C. § 410 must fill out this form every time they help prepare documents that
are filed in the case. If more than one bankruptcy petition preparer helps with the documents, each must sign in Part 2. A
bankruptcy petition preparer who does not comply with the provisions of title 11 of the United States Code and the Federal
Rules of Bankruptcy Procedure may be fined, imprisoned, or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

aoe Notice to Debtor

Bankruptcy petition preparers must give the debtor a copy of this form and have the debtor sign it before they prepare any
documents for filing or accept any compensation. A signed copy of this form must be filed with any document prepared.
Bankruptcy petition preparers are not attorneys and may not practice law or give you legal advice, including the following:
whether to file a petition under the Bankruptcy Code (11 U.S.C. § 401 et seq.);
H whether filing a case under chapter 7, 11, 12, or 13 is appropriate;
m whether your debts will be eliminated or discharged in a case under the Bankruptcy Code;
™ whether you will be able to keep your home, car, or other property after filing a case under the Bankruptcy Code;
m what tax consequences may arise because a case is filed under the Bankruptcy Code;
m whether any tax claims may be discharged,
m whether you may or should promise to repay debts to a creditor or enter into a reaffirmation agreement;
B how to characterize the nature of your interests in property or your debts; or

™ what procedures and rights apply in a bankruptcy case.

The bankruptcy petition preparer Regenia Smith has notified me of
Name

any maximum allowable fee before preparing any document for filing or accepting any fee.

 

Date
NijiahMuhammad Gearon, Debtor 1, acknowledging receipt of this notice MM/DD/IYYYY

 

x Date
Signature of Debtor 2, acknowledging receipt of this notice MM/DD/YYYY

Official Form 119 Bankruptcy Petition Preparer's Notice, Declaration, and Signature page 4

 

 
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Debtor 4 Nijiah Muhammad Gearon Case number (if known)

 

 

ire Declaration and Signature of the Bankruptcy Petition Preparer
Under penalty of perjury, | declare that:
@ |ama bankruptcy petition preparer or the officer, principal, responsible person, or partner of a bankruptcy petition preparer;

™ | or my firm prepared the documents listed below and gave the debtor a copy of them and the Notice to Debtor by Bankruptcy Petition
Preparer as required by 11 U.S.C. §§ 110(b), 110(h), and 342(b), and

m if rules or guidelines are established according to 11 U.S.C. § 110(h) setting a maximum fee for services that bankruptcy petition
preparers may charge, | or my firm notified the debtor of the maximum amount before preparing any document for filing or before
accepting any fee from the debtor.

 

 

 

 

 

 

 

Regenia Smith Preparer .
Printed name Title, if any Firm name, if it applies
6201 La Pas Tr, Ste. 230

Number Street

Indianapolis IN 46268 3173287911

City State ZIP Code Contact phone

! or my firm prepared the documents checked below and the completed declaration is made a part of each document that |
check:

(Check all that apply.)

[7 Voluntary Petition (Form 101) [7] Schedule | (Form 106!) [I] Chapter 11 Statement of Your Current Monthly

Income (Form 122B)
[yJ Statement About Your Social Security [7] Schedule J (Form 106J)

Numbers (Form 121) . . ' C] Chapter 13 Statement of Your Current Monthly
Declaration About an Individual Debtor's Income and Caiculation of Commitment Period

[J Summary of Your Assets and Liabilities Schedules (Form 106Dec) (Form 122C-1)
and Certain Statistical Information ; . .
(Form 106Sum) 4 Statement of Financial Affairs (Form 107) Chapter 13 Calculation of Your Disposable
fz] Schedule A/B (Form 106A/B) [7] Statement of Intention for Individuals Filing Income (Form 122C-2)
Under Chapter 7 (Form 108) . - .
[J Schedule C (Form 106C) [I Application to Pay Filing Fee in Installments
Chapter 7 Statement of Your Current (Form 103A)
Schedule D (Form 106D) Monthly Income (Form 122A-1)

oO Application to Have Chapter 7 Filing Fee
fy] Schedule E/F (Form 106E/F) [J Statement of Exemption from Presumption Waived (Form 103B)

of Abuse Under § 707(b)(2
[YJ Schedule G (Form 106G) (Form 22h 1 Supp ye) [| Alist of names and addresses of all creditors

[vj Schedule H (Form 106H) . (creditor or mailing matrix)
f- [1] Chapter 7 Means Test Calculation

(Form 122A-2) (] Other

 

en,
‘

Bankruptcy petition prep ers m st sign and give their Social Security numbers. If more than one bankruptcy petition preparer prepared the
documents to Which thi de (aration applies, the signature and Social Security number of each preparer must be provided. 11 U.S.G§ 110.

| US 313-8 8 7 8 5 8 ate /*

 
  

  

i

Signature of bankruptcy etiti npre arer or officer, principal, Social Security number of person who signed MM/DD/YYY
responsible person, or partner

—

X

 

Regenia Smith
Printed name

X - - Date

Signature of bankruptcy petition preparer or officer, principal, Social Security number of person who signed MM /DD/YYYY
responsible person, or partner

 

Printed name

Official Form 119 Bankruptcy Petition Preparer's Notice, Declaration, and Signature page 2

 

 
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B2800 (Form 2800) (12/15)

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION

Inre Nijiah Muhammad Gearon Case No.

Chapter 7
Debtor

DISCLOSURE OF COMPENSATION OF BANKRUPTCY PETITION PREPARER
[Must be filed with the petition if a bankruptcy petition preparer prepares the petition. 11 U.S.C. § 110(h)(2).]

1. Under 11 U.S.C. § 110(h), | declare under penalty of perjury that | am not an attorney or employee of an attorney, that!
prepared or caused to be prepared one or more documents for filing by the above-named debtor(s) in connection with this
bankruptcy case, and that compensation paid to me within one year before the filing of the bankruptcy petition, or agreed to be
paid to me, for services rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is
as follows:

For document preparation services, | have agreed to accept... $250.00
Prior to the filing of this statement I have received... eee eseeeteeeeee $250.00
Balance Due... ciccccscccccsscessscscersesscevecsssssesessesssssesssessssseteuseesueeessnnees $0.00

 

2. | have prepared or caused to be prepared the following documents (itemize):

Petition, Schedules A-J, Statement of Financial Affairs, Statement of Intentions, Statement of Monthly Income, Creditor
Matrix

 

and provided the following services (itemize):

3. The source of the compensation paid to me was:
[YJ Debtor (1 Other (specify)

4. The source of compensation to be paid to me is:

Debtor C1 Other (specify)

5. The foregoing is a complete statement of any agreement or arrangement for payment to me for preparation of the petition
filed by the debtor(s) in this bankruptcy case.

6. To my knowledge no other person has prepared for compensation a document for filing in connection with this bankruptcy
case except as listed below:

 

NAME SOCIAL SECURITY NUMBER
Case 18-05 MIC-7A of 1 Filed 07/17/18 EOD 07/17/18 15:21:43 ‘
X Sap ay PS XXX-XX-XXXX Sy 3 B55 /
Date

Signature KITT? Social Security number of bankruptcy
y petition preparer*

 

 

Regenia Smith, Preparer 6201 La Pas Tr, Ste. 230
Printed name and title, if any, of Indianapolis, IN 46268
Bankruptcy Petition Preparer Address

* If the bankruptcy petition preparer is not an individual, state the Social Security number of the officer, principal, responsible
person or partner of the bankruptcy petition preparer. (Required by 11 U.S.C. § 110).

A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure
may result in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.

 

 
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF INDIANA
INDIANAPOLIS DIVISION

IN RE: Nijiah Muhammad Gearon CASE NO

CHAPTER 7

VERIFICATION OF CREDITOR MATRIX

The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.

Date oh ) 16 signature 7 UL Coffe

Nijiah MGhammad Gearon

 

Date Signature

 

 

 
